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____     Conference

         I have been charged in an indictment with violations of federal law. I understand that I have a right to be
         present at all conferences concerning this indictment that are held by a judge in the Southern District of
         New York, unless the conference involves only a question of law. I understand that at these conferences
         the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
         be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
         excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
         and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
         the court that I willingly give up my right to be present at the conferences in my case for the period of time
         in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
         my attorney be permitted to represent my interests at the proceedings even though I will not be present.



Date:             ____________________________
                  Signature of Defendant


                  ____________________________
                  Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:               /s/ Julia Gatto by SDA
                  ____________________________
                  Signature of Defense Counsel


                     Julia Gatto
                  ____________________________
                  Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                  Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date: 11/6/2020
                                                          2
